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Pro Hac Vice Pending

Attorneys for Plaintiff, William Whitt

                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OFIDAHO
WILLIAM WHITT,                             Casc No.1:18-cv-00231

                       Plainti二
                                           COⅣ IPLAINT AND DEⅣ IAND
       V.                                  FOR JURY TRIAL
PAPA MURPHY'SINTERNATIONAL,
LLC,a Forcign Col‐poration,d/b/a PAPA
MURPHY'S TAKE N BAKE,

                       Defendant.


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         COMES NOW, Plaintiff William Whitt, who, by and through his attomeys of record,

EBERLE, BERLIN, KADTNG, TURNBOW                    &   MCKLVEEN, CHARTERED ANd MARLER

CLARK, LLP, PS (pending admission pro hac vice), alleges upon information and belief              as


follows:

                                              I.   PARTIES

           l.l   Plaintiff, William Whitt (hereinafter "Plaintiff'), is a resident of Canyon County,

Idaho. Plaintiff resides within the jurisdiction of this Coum, and is a Citizen of the State of

Idaho.

           1.2   Defendant, Papa Murphy's Intemational LLC, dlbla Papa Murphy's Take N Bake

(hereinafter "Papa Murphy's" and/or "Defendant"), is a Delaware corporation headquartered in

Vancouver, Washington. Therefore, Papa Murphy's is a citizen of the States of Delaware and

Washington. Papa Murphy's sole member is Papa Murphy's Company Stores, Inc., which                is


organized and existing under the laws of the State of Washington and has its principal offices in

Vancouver, Washington. Papa Murphy's Company Stores, Inc. is, therefore, a citizen of the

State of Washington, and not Idaho.

                                  II. JURISDICTION          AND VENUE

         2.1     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. $ 1332(a) because the rnatter in controversy exceeds $75,000.00, exclusive of costs, it is

between citizens   of different states. and   because the defendant has certain minimum contacts

with the State of Idaho such that nraintenance of tlre suit in this district does not offend

traditional notions of fair play and substantial justice.




COMPLAINT AND DEMAND FOR JURY TRIAL - PAgC 2
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                          2.2          Venue           in the United                        States District Court                                     of the District of Idaho is proper
      pursuant to 28 U.S.C. $ l39l(aX2) because a substantial part of the events or omissions giving

      rise to Plaintiffs claims and causes action occurred in this judicial district, and                                                                                                                            because

      Defendant was subject                                  to personal jurisdiction in this judicial district at the time of                                                                                                   the

      commencement of the action.

                                                                      IⅡ      .       GENERAL ALLEGAT10NS

                          3.1          E. coli Ol57:H7 outbreaks associated with letfuce and other leafy greens are by

      no means a new phenomenon. Outlined below is a list of E. coli ottbreaks involving
      contaminated lettuce or leafy greens:
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                                                                                               Agent :                                 Illnesses
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: Dcc.2015-」 an.2016 1                                                nlonocytogcncs
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                                                                      Escherichia coli.
                                                                                                                                                                         Prepackaged leafy
                          Apr. 2015                                     Shiga toxin-
                                                                                                                                                                                       greens
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                          ⅣIal・ 2015                                       ブO157:H7
                                                                      E.ε θ′                                                                                                   Leafy greens
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                          Jul.2014                                             ′OHl
                                                                          E cθ ′                                                                                           Applebee's and
                                                                                                                                                                             Yard House
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                                                                                                                                                                                (Minnesota)
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                                                                                                                                                                               salads and
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                                                                                                                                             つ′




                          Oct.2013                                    E         J0157:H7
                                                                              εθ′
                                                                                                                                                                            sandwich wraps
                                                                                                                                                                              (California)

                          Ju1 2013                          . E                 ノ0157:H7
                                                                              εθ′                                                            94                           Lettuce served                      at             i
                                                                                                                                                                                                          ,,,,.'l




    COⅣ lPLAINT AND DEMAND FOR JURY TRIAL― Page 3
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                                                                                                                                         :    Federico's Mexican               ]



                                                                                                                                                  Restaurant




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                                                                                                                       (Nebraska)                                              l



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I Dec2012 h2013 1                                                              ′0157:H7
                                                                           二 σθ′                                               31              frolln Freshpoint, 1
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      Oct.2012                                            1                f     ′0157:H7
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:    Apr.2012                                                         E_6・       i
                                                                                θノ   O157:H7            1                      28              Romainclcttuce              l



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      Dcc.2011
                                                                  111111Ⅲ II1111
                                                                                Norovirus
                                                                                                                                              Lettuce; roast beef

                                                                                                                                                  Lettuce,

                              "I■                                                                                                                unspecified

i     Oct 20H                                             I E_ε θ′′0157:H7 '                                                   58              Romaine lettucc             l
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                                                                                                                                                   Lettuce
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      Fcb.2011                                                                  Noro宙 lus      1                         24          1    Gal・      den salad              i

                                                                                                                                                Lettuce; salad,
      Jall.2011                                                                 Norovirus                                      93
                                                                                                                                                 unspecified

    Jul.― ()ct.2010                                                        Salnronella Java                                    136             Salad vegetable
                                                                                                                               つＤ
                                                                                                                               つＤ




      May 2010                                                                      ノO145
                                                                               E cο ′                                                          Romaine Lettuce


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     Apr.2010
                        Salmonella
                                                Ю
                        Hvittingfoss
                                          :…"葛         出現:認 1:
                                                 F… 下高      ilI :
     Jan.2010              E. coli
                                         下″            モ驚
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                                                                ■                              苺
     Dec.2009            Norovin.ts                                     Lettuce
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     Aug.2009                                                           Lettuce


                                                                  Romaine lettuce.
                                                                  Recalls issued by
                                                                 Tanimura & Antle,
                                                                    Inc. (lettuce).
     Aug 2009          Salnronella spp          124
                                                                  Muranaka Farm,
                                                                 Inc. (parsley), and
                                                                  Frontera Produce
                                                                      (cilantro)

                        Salmonella                                  Shredded lettuce
      Jul.2009                                  145

                                                                潔 宜躙
                       Typhirnuriurn


     May.2009            Norovirus               10                                   た
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                                                                i bmttl腑

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■♪l響…
    …■…  9fW                                                        Romaine lettuce i
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                                                                 Chopped shredded :
     Oct.2008    .   E.cθ ′ノ0157:H7                                iceberg lettuce
                                                                     (Michigan)

                                          43 (Johnathan's
                                              Farnily
                                          Restaurarrt), 2l
     Oct.2008         E6.θ ″ O157:H7        (Little Red                 Lettuce
                                              Rooster
                                          Restaurant), l2
                                           (M.T.Bellies


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                                                                                                      Tomato relish,




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i      Oct.2008
                                          ツIT… 数
                                                                                    64
                                               …                                                   lettuce-based salad




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                                                                                                   Lcttuce n・ omAunt:
                                                                                                      Mid's Produce l
      Aug.― Scp.2008             E       J0157:H7
                                       εοノ                                          74
                                                                                                        Colllpany         l
                                                                                                       (CalifOmia)
                                          …               …        … …
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      Aug.― Oct.2008                  ノO!57:H7 :
                                 E cο ノ               13                                           Spinach (Oregon)           l
                                ´―∼―″―´ ……″
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                                            ・     ｀
                                             ……… …∼……… …
                                                ■
        May 2008                 E cθ ″O157:H7 :     10                                           Prepackaged lettuce
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                            ク                 ―          ―    … ― …       … ― ″ … … …




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        May 2008                      ノO157:H7
                                 E cθ ′


        May 2008
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                                 E.ε ο′             O157:H7
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                                      Salnronella
:      Apr.2008                                                          1      12        1 Grcen salad,tomato
                                      "'i'11:r]y              _                        …… ……… ‐ ‐
                                                                     ―卜 … …………… … Ⅲ T… ―
                                                                                    ‐ SJad
:       Ju1 2007                     Shigella sonnei                     1   72

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   u12007
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          …  II鶯 二    …
          : E.ε 0157:H7 : 26
                 千 十一式 十蠅 蓋
                   1■       上: Lcttucc    θ′
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■ ‐…′…… Ⅲ―………………
     ― Jan.2007       … …五…… … …………″                                     ■                        Ⅲ
:                           :        Noro宙 rus                       :          9         1        Salad
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  ″……Ⅲ
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     Nov 2006
     _)° γ
         :″ ♀
                : E.σ ο″O157:H7 :
                                                  _Wエ リ        L                  78          1
                                                                                              凛■…型盟
                                                                                                      Lettuce
                                                                                                   Pre-packaged baby
                                 g                                                                 spinach from Dole
        Oct.2006                         ノ0157:H7
                                       εθ′                                          205
                                                                                                    Food Company
                                                                                                      (California)
￨              :                 ,
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,       Scp.2006                          Norovirns 1                    1
                                                                                     g                    Salad

                                                                         I                            Prcpackagcd
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                                                                                                  bagged lettuce from
        Scp.2005                      f0157:H7
                                 E cο ノ                             :               34
                                                                                                       Dole Food
                                                                         I                             Company
                                                                         1




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                              Salmonella
      Jun 2006                                                                         Lettuce, tomatoes


                                                                                         grapes, green;
      Oct.2005                 ′0157:H7
                          E.ε ο′                                                             lettuce,
                                                                                          prepackaged

                   :      E cθ ′                                                               Lettuce,
     Nov 2004                  JO157:H7
                                                                                              unspecified

      Jul.2004     I   Salrnonella Newpor-t                                              Iceberg lettuce

                                                                                           Spinaclr,
     Nov 2003                  ′O157:H7
                          E cθ ′
                                                                                          unspecified

                                                                                                   Spinach,
      0ct.2003                  J0157:H7
                              εο′
                                                                                          unspecified
                   ,...

                                                                                          Lettuce-based
     Sep.2003                   ノO157:H7
                              εθ′
                                                                                       salads, unspecified

     Nov 2002                   J0157:H7
                              εο′                                                       Romaine lettuce

                                                                                        Romaine lettuce
                                                                                         from Spokane
      Jul.2002                 J0157:H7
                          E_ε θ′
                                                                                            Produce
                                                                                         (Washington)

      Jul.2002            g   εθ″0157:H7                              55                  Caesar salad

                                                                                         Lettuce-based
     Nov 2001                  ノ0157:H7
                          E cο ′                                      20
                                                                                       salads, unspecified

     Oct.2000                                                                                       Salad

                          Canlpylobacter             i
     May 2000                                                         13                            Salad
                                JCJulll


     May 2000                 Noro宙 us  1‐           i      3                                       Salad
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     Feb.2000                 Nol・ o宙   1‐   us     i        7                                      Salad

     0ct.1999                 ,O157:H7
                          π σθ′                     1        45                 1    Lettucen Salad



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        Oct.1999                   E      J0157:H7
                                        εθノ                    47                   Salad




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               1999          :   Noro宙




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        °Ct・                                                    16                  Salad




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       Scp.1999                                                 6                  Lettuce                        1




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       Scp.1999                         Norovirus              H5                  Lettuce                        i
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       Sep. 1999                   E     JOHI:H8
                                       εθ′                     58                   Salad




                                                                う∠
                                                                くフ
       Aug 1999                         Norovirus                                   Salad

       May 1999                         Norovirus              28                   Salad

       Feb.1999                         J0157:H7
                                   E cθ ′                      72                  Lettuce

       ⅣIay 1998                        ノ0157:H7
                                   E.`θ ′                                           Salad

       May 1996                         J
                                   E cο ′   O157:H7            61                  Lettuce

       0ct.1995                        J0153:H46
                                  E.ε θ′                                           Lettuce

       Sep. 1995                  E      J0153:H47
                                       εθ′                     30                  Lettuce

       Scp.1995                         J O157:H7
                                   E cθ ′                      21                  Lettuce

        Jul.1995                  E      J0153:H48
                                       εθ′                     74


The 2018 Romaine Lettuce E. coli Ol57:H7 Outbreak


       3.2       As of May 16,2018, there are at least 172 cases in 32 states, as follows: Alaska

(8), Arizona (8), California (39), Colorado (3), Connecticut (2), Florida        (l),   Georgia (4), Idaho

(ll), Illinois (2), Kentucky (l), Louisiana (l), Massachusetts        (3), Michigan (5), Minnesota (12),

Mississippi    (l), Missouri (l),      Montana (8), New Jersey (8), New York (5), Nor-th Dakota (2),

Ohio (6), Oregon      (l),   Pennsylvania (21), South Dakota   (l),   Tennessee (3), Texas   (l),   Utah              (l),
Virginia (l), Washington (7), and Wisconsin (3). Six are reported ill in Canada.

       3.3       Illnesses started on dates ranging from March 13,2018 to May 2,2018.               Ill   people

range in a-ee frorn    I to 88 years, with a median age of 29. Sixty-five       percent of   ill   people are


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female. Of 157 people with information available,T5 (48%) have been hospitalized, including

20 people who developed hemolytic uremic syndrome, a type of kidney failure. One death was

reported fi'om Cal i flornia.

            3.4   Illnesses that occumed after   April2l,2018, might not yet be repor-ted due to the
time   it   takes between when a person becomes     ill with E. coli and when          the illness is reported.

This takes an average of two to three weeks.

            3.5   State and local health officials continue to interuiew        ill   people to ask about the

foods they ate and other exposures before they became       ill.   I   02 (91%) of I l2 people interviewed

reported eating ronraine lettuce in the week before their illness started. Most people reported

eating a salad at a restaurant, and romaine lettuce was the only common ingredient identified

among the salads eaten. The restaurants reported using bagged, chopped romaine lettuce to

make salads.       At this time, ill people are not repofiing whole heads or              hearts   of   romaine.

Information collected to date indicates that chopped romaine lettuce from the Yuma, Arizona

growing region could be contaminated with        E coli O157 H1 and could         make people sick.

            3.6   Federal and state public health officials continue to investigate this outbreak.

Among other things, these investigators are currently trying to determine the precise location(s)

at which the contaminated lettuce was grown and/or processed.

E. coli Ol57:H7 and Hemolytic Uremic Syndrome

            3.7   Escherichia coli is the name of a common family of bacteria, most members of

which do not cause human disease. E. coli Ol57:Hl is a specific member of this farnily that can

cause bloody diarrhea (hemorrhagic colitis)      in humans. In the years since E. coli Ol57:H7 was

first identified as a cause of diarrhea, this bacterium has established a reputation as a significant

public health hazard.

            3.8   E. coli Ol57:H7 lives in the intestines of cattle and other runrinants. E. coli

Ol57:H7 is also notable among pathogenic bacteria for its extremely low infectious dose-that



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is, the number of bacteria necessary to induce infection in a person. While for most pathogenic

bacteria   it   takes literally millions of bacterial colonies to cause illness,   it   is now known that

fewer than 50 E. coli o-157:H7 bacteria can cause illness in a child. The practical imporl is that

even a microscopic amount of exposure can h'igger a devastating infection.

        3.9        The most severe cases of the E. coli o-157 H7 infection occur in young children

and in the elderly, presumably because the immune systems in those age populations are the

most vulnerable. After a susceptible individual ingests E. coli o-157 H7, the bacteria attach to

the inside surface of the large intestine and initiates an inflammatory reaction of the intestine.

What ultimately results are the painful bloody diarrhea and abdominal cramps characteristic of

the intestinal illness,

        3.10       The mean incubation period (time fi'om ingestion to the onset of symptoms) of

E. coli 0157:H7 is estirnated to be two to four days (range, I -21 days). Typically, a patient with

an acute E. coli O157:H7 infection presents with abdominal crarnps, bloody dianhea, and

vomiting. The duration of diarrhea in children with E. coli Ol57 H7 infections are significantly

longer than that of adults.

        3.ll       E. coli o-157:H7 can produce a wide spectrum of disease from mild, non-bloody

diarrhea,   to    severe bloody diarrhea accompanied       by excruciating abdominal pain to life-
threatening complications. In most infected individuals, the intestinal illness lasts about a week

and resolves without any long-term effects. Antibiotics do not appear to aid            in combating these

infections, and recent medical studies suggest that antibiotics are contraindicated for their risk of

provoking more serious complications. Apart from good supportive care, which should include

close attention to hydration and nutrition, there is rro specific therapy.

        3.12 About 10o/o of individuals with E. coli            0157   H1 infections (mostly        young

children) go on to develop hemolytic uremic syndrome (HUS). a severe, potentially life-
threatening complication. The essence of the syndrorne is described by its three central features:



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destruction of red blood cells, destruction of platelets (those blood cells responsible for clotting),

and acute renal failure due to the formation of micro-thrombi that occlude microscopic blood

vessels that make up the filtering units within the kidneys.

        3.13     There is no known therapy to halt the progression of    HUS. The active     stage   of

the disease usually lasts one to two weeks, during which a variety of contplications are possible.

HUS is a fi'ightening illness that even in the best Arnerican medical facilities has a mortality rate

of about 5%. The majority of HUS patients require transfusion of blood products and develop

complications comfflon to the critically ill.

Plaintifls E. coli Ol57:H7 infection

        3.14     Around noon on or about March 24, 2018, Plaintiff purchased and consumed             a


salad from Defendant's restaurant located at 2420 l2tl' Ave. Rd., in Nampa, Idaho. The salad

contained romaine lettuce involved in the above-described national E.       coli 0157 H7    outbreak.

The salad was contaminated by E. coli 0157:H7     .




        3.15     Plaintiff began to suffer from gastrointestinal illness on or about March 26,2018.

Plaintiff was admitted to St. Luke's Hospital on March 30,201 8, and remained hospitalized until

April 7, 2018.

        3.16     During his hospitalization, on or about April 3, 2018, Plaintiff developed          an


inguinal hernia, causing pain in the lower abdominal legion. Plaintiff also submitted a stool

specimen that tested positive for E.    coli o-157:H7, matching the strain involved in the above-

described romaine lettuce E.   coli O157:H7 outbreak.

        3.17     On or about May 9,2018, Plaintiff underwent surgery to repair the inguinal

hernia, including a procedure to deaden a related nerve that was causing him extreme discomfort.

During this procedure, it was discovered that the E. coli O157:Hl infection had caused further

COMPLAINT AND DEMAND FOR JURY TRIAL - Page I I
         Case 1:18-cv-00231-BLW Document 1 Filed 05/24/18 Page 12 of 17




damage to the lining of     Plaintifls stomach, necessitating further care and treatment. Plaintiff

continuesinhistreatmentformedicalproblenrsrelatedtohis                     E.coliOl5T:H7 infection.

                                        IV.     CAUSES OF ACTION

                                       Strict Product Liabilitv   -   Count I

        4.1      By this reference, Plaintiff incorporates the foregoing paragraphs as if each was

set forth here in its entirety.

        4.2 At all tirnes relevant, Defendant             manufactured and sold the adulterated food

product that is the subject of this action.

        4.3      The adulterated food product that Defendant manufactured, distributed, and sold

was, at the time   it left Defendant's control, defective    and unreasonably dangerous for its ordinary

and expected use because          it   was contaminated by E. coli O157:H7, a bacteria dangerous to

human health.

        4.4      Because the adulterated food product that                 is the subject of this action was

contaminated by E. coli Ol57:H7,            it was in a condition that consumers had not contemplated,

including Plaintiff, and it was in a condition that rendered the product unreasonably dangerous

for its ordinary and expected use.

        4.5      The food product that is the subject of this action was expected to reach the

consuffters, including Plaintiff, and be consumed by them, without substantial change. The

consumers used the Product              in the manner expected and intended, including           when they

consumed it.

        4.6      Plaintiff suffeled injury and damages as a direct and proximate result of               the

defective and unreasonably dangerous condition              of the adulterated food product that the
defendant manufactured, distributed, and          sold. These damages include, but are not lirnited      to:

COMPLAINT AND DEMAND FOR JURY TRIAL - Page                            12
         Case 1:18-cv-00231-BLW Document 1 Filed 05/24/18 Page 13 of 17




physical and mental pain and suffering, past and future in the form of the pain and suffering

including bodily suffering, discomfort and loss of enjoyment           of life; and medical costs and

expenses to this point and the present value of reasonable medical expenses in the future.

                            Neqligence and Negligence Per Se      -   Count   II
        4.7      By this reference, Plaintiff incorporates the foregoing paragraphs as if each was

set forth here in its entirety.

        4.8      Defendant owed to Plaintiff a duty to comply with all applicable state and federal

statutes, laws, regulations, and safety codes interrded to ensure the purity and safety of its food

product, including, but not limited to, the requirements of the Fedelal Food, Drug and Cosmetics

Act,2l U.S.C. $301      et seq.

        4.9      Plaintiff is among the class of persons intended to be protected by these statutes,

laws, regulations, and safety codes pertaining to the manufacture, distribution, storage, and sale

of similar food products.

        4.10     Defendant failed to comply with the provisions         of the health and safety acts

identified above, and, as a result, was negligent per se in its manufacture, distribution, and sale

of food adulterated by E. coli Ol57:H7,   a   pathogen harmful to human health.

        4.11     Defendant owed a duty to Plaintiff to use reasonable care         in the manufacrure,

distribution, and sale     of its food products, which duty, if met, would         have prevented or

eliminated the risk that Defendant's food products would become contaminated with E. coli

Ol57:H7 or arly other dangerous pathogen.

        4.12     Defendant's duty described in the foregoing paragraph required that        it   exercise

reasonable care in the selection and approval of growers, haruesters, and other individuals and

entities involved in the manufacture and production of its food products.

COMPLAINT AND DEMAND FOR JURY TRIAL - Page                   13
        Case 1:18-cv-00231-BLW Document 1 Filed 05/24/18 Page 14 of 17




       4.21 At the time of this sale. being contaminated by E. coli 0157:H7,            Defendant's

products were not fit for the ordinary purpose for which food is used, and Defendant breached its

express and implied warranties   with regard to the food products they manufactured, distributed

and sold to distributors, retailers, and consumers.

       4.22    Plaintiff suffered personal injury as a direct result of Defendant's breach of

express and implied warranties, as set for-th above. These damages include, but are not limited

to: physical and mental pain and suffering,   past and future in the form of the pain and suffering

including bodily suffering, discomfort and loss of enjoyment       of life;   and medical costs and

expenses to this point and the present value of reasonable medical expenses in the future.

                    Breach of Idaho Consumer Protection Act        -   Count IV

       4.23 By this reference, Plaintiff incorporates the preceding              paragraphs   of   this

Complaint as if each and every one of these paragraphs was set forth here in its entirety.

       4.24    By selling food products to consumers, Defendant represented that its products

were safe to eat, were not contaminated by a deadly pathogen, and that the food had been safely

prepared.

       4.25    Defendant violated Idaho Code $$ 48-603(5) and              (7)    because Defendant

represented that its food products were safe to eat, were not contaminated by a deadly pathogen,

and that the food had been safely prepared, when such food products were contaminated by

E. coli Ol57:H7.

       4.27    Plaintiff suffered personal injury as a direct result of Defendant's breach of the

Idaho Consumer Protection Act, as set forth above. These damages include, but are not limited

to: physical and mental pain and suffering,    past and future in the form of the pain and suffering




COMPLAINT AND DEMAND FOR JURY TRIAL - Page                  15
         Case 1:18-cv-00231-BLW Document 1 Filed 05/24/18 Page 15 of 17



including bodily suffering,discomfort and loss of ettoyment Of life;and medical costs and

cxpenses to this point and the present value of reasonablc rnedical expenses in the ilture.


                                  PRAYER FOR RELIEF
       WHEREFOu,Plaintiffprays forjudgment against Dcfcndant as fo1lows:

        a.   Judgment for Plaintiff against the Defendant for just compensa面          on in a fair and

                rcasonable anlount forthe damages above set forth;and

       b.      Such additional and/or ftllther relict including interest, costs, and reasonablc

                attomey fees,as this Court decmsjust and cquitable.

                                          JURY DEⅣlAND

       Plaintiffhcreby demands ajully tHal.

       RESPECTFULLY SUBMITTED this 24山 day ofMay,2018.

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                                                     By: Jacob D.Bottari
                                                           Attomeys for Plaintiff
                                                           William Whitt

                                                     MARLER CLARK,LLP,PS.

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                  Case 1:18-cv-00231-BLW Document 1 Filed 05/24/18 Page 16 of 17


AO 440 (Rer, 06/12) Surnrnons in a Civil Action


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                                                                         for the

                                                                   District of ldaho


                             William Whitt,




                               P   lainriff(s)
                                                                                   Ci宙 l Action No

     Papa Murphy's lnternational, LLC, a Foreign
   Corporation, dlblalPapa Murphy's Take N Bake,
                                                                           )

                                                                           )

                              Defendant(s)                                 )



                                                          SUMMONSIN A CIVlL ACT10N
To:   (Defendant's nome and address)             Papa Murphy's lnternational, LLC
                                                 dlbla Papa Murphy's Take N Bake
                                                 8000 NE Parkway Drive, Suite 350
                                                 Vancouver, WA 98662




          A lawsuit has been filed against you.

          Within    2l   days after service of this summons on you (not counting the day you received it)                  or 60 days if you
                                                                                                                       -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P.12 (a)(2) or (3)    you rxust serve on the plaintiff an answer to the attached cornplaint or a tnotion under Rule 12 of
                         -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s atlorney,
wlrose name and address are: Jacob D. Bottari
                                                 Eberle Berlin Kading Turnbow & McKlveen, Chartered
                                                 P.O. Box 1368
                                                 Boise, lD 83701-1368




          lf you fail Io respond, judgrnent by default will            be entered against you for the relief dernanded in the complaint.
You also rnust file your answer or tnotion with the cour1.



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VI.CAUSE OF ACT10N                                                    Brrcl' descriptron oI causc:
                                                                          Plaintiff was sickened with E. coli 0157:H7 from adulterated food manufactured and sold          Defendant
V‖ 。REQUESTED IN    O clccx n: Tlls ts A cl-Ass r\CTtoN                                                              1)Eヽ lAND S                  CtlhCK YI--S onl)' il'dernanded in cotnplaint
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